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                                                                          4                                  IN THE UNITED STATES DISTRICT COURT
                                                                          5                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          7   SCANVINSKI HYMES,                                          No. C 03-2150 SI
                                                                          8                   Plaintiff,
                                                                                v.                                                       FINDINGS OF FACT AND CONCLUSIONS
                                                                          9                                                              OF LAW
                                                                              J. McGRATH, et al.,
                                                                         10
                                                                                              Defendants.
                                                                         11                                                /
United States District Court




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                               For the Northern District of California




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                                                                                      This matter came on for court trial, the parties having waived a jury, in November 2004. Live
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                                                                              testimony was taken and exhibits, including videotape of various incidents at Pelican Bay, were received on
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                                                                              November 9, 10, 15, 16, 17, 18 and 22, 2004. In addition, deposition testimony was submitted to the Court
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                                                                              for review after trial proceedings were completed. Having considered the evidence received and having
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                                                                              evaluated the credibility and demeanor of the witnesses while testifying, the Court hereby makes the following
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                                                                              findings of fact and conclusions of law.
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                                                                                                                   PRELIMINARY STATEMENT
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                                                                                      By way of introduction, the Court observes that throughout this action, plaintiff’s core contention has
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                                                                              been that while he was an inmate at Pelican Bay State Prison “he was forcibly medicated with psychotropic
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                                                                              drugs as a result of a conspiracy among the defendants on two separate occasions. This conspiracy was
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                                                                              created and implemented out of defendants’ frustration in dealing with plaintiff’s oppositional stance towards
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                                                                              custody.” Plaintiff’s Proposed Statement of Facts and Conclusions of Law (“Pl’s Findings”), at 1. Having
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                                                                              heard all the witnesses in this action, including plaintiff’s extensive testimony and the testimony of numerous
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                                                                              treating physicians, psychiatric workers, medical personnel and other correctional officials, the Court does not
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                                                                          1   find that there was a conspiracy as alleged. It is true that plaintiff took an “oppositional stance towards
                                                                          2   custody” – he testified to as much, and the evidence of this attitude was extensive. It is also true, as various
                                                                          3   witnesses stated and as the Court observed, that plaintiff is a bright, articulate and engaging man who can be
                                                                          4   charming when he wishes to be. But there was substantial testimony that plaintiff could be, and often was,
                                                                          5   explosive, violent, physically dangerous to others and extremely disruptive in the close confines of a prison
                                                                          6   setting.
                                                                          7              Plaintiff explained that most of his behavior was intended to demonstrate that he had no respect for

                                                                          8   people in uniform. He recalls informing “custody” – the custodial staff – that “we were at war,” and that any
                                                                          9   time they tried to open his cell door, there would be problems. He did not deny that he violated Pelican Bay
                                                                         10   rules over 100 times, but stated that it was always volitional. He chose to act out because he felt that the CDC
                                                                         11   had abused him, not just in Pelican Bay but for many years; he has a long memory and sometimes retaliated
United States District Court




                                                                         12   years later. He had previously been sent to Atascadero for treatment after having been found incompetent to
                               For the Northern District of California




                                                                         13   stand trial. While there, he sustained at least one felony conviction for assaultive behavior, which he explained
                                                                         14   by saying he “did what he had to do” (stabbed an RN with a sharpened toothbrush) when a cell extraction was
                                                                         15   being performed. He testified that after he acts out, he feels better – he has done what he has to do and has
                                                                         16   made his point. He testified that he feels that he is always in control of himself, even though it might look like
                                                                         17   he is not. He emphasized that he did not want a “psych jacket” – did not want to be in the CDC mental health
                                                                         18   system – because “the only thing I have left is my mind.” He did not want to lose his own identity and control.
                                                                         19   At the same time, he sometimes stipulated to being “NGI” – not guilty by reason of insanity or incompetent to
                                                                         20   stand trial, because it would cause “delay.”
                                                                         21              Captain Daniel Smith, one of the defendants in the case, testified that plaintiff is personable when he
                                                                         22   is rational: he is bright and has a good sense of humor; but he views acting out as his job. Dr. Ronald Bortman,
                                                                         23   another defendant, testified that he thought that without treatment, plaintiff was heading for a destiny of life in
                                                                         24   prison, most of it to be spent in the SHU; he thought this was “tragic,” since he felt plaintiff had a treatable
                                                                         25   mental illness.
                                                                         26              It was in this context that medicaland psychiatric personnel at Pelican Bay made efforts to treat plaintiff.
                                                                         27   Not all of the treaters agreed on the correct diagnosis for plaintiff, but all recognized substantial and dangerous
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                                                                          1   mental conditions. Ultimately, the treatment team devised a treatment “plan” for Mr. Hymes. What they
                                                                          2   characterized as a treatment plan plaintiff characterizes as a conspiracy. Having heard the evidence, the Court
                                                                          3   finds that the treatment plan was just that – a plan developed in good faith to treat a puzzling, contradictory and
                                                                          4   unpredictable situation. That there were medical disagreements among the treaters reflects the difficulty of the
                                                                          5   problem presented, not a conspiracy to administer involuntary medication.
                                                                          6

                                                                          7                                               FINDINGS OF FACT
                                                                          8   A. Background: plaintiff and defendants
                                                                          9           1.       Plaintiff is an African American male who was born on February 15, 1970. He spent much
                                                                         10   of his childhood in foster care, had his first contact with the criminal justice system at age 9, and was first
                                                                         11   incarcerated at age 14. Since then he has been in prison intermittently, in large part because of offenses
United States District Court




                                                                         12   committed as a prisoner against custody.
                               For the Northern District of California




                                                                         13           2.       The actions at issue in this case occurred while plaintiff was an inmate at Pelican Bay State
                                                                         14   Prison, between 1995 and 2001. Defendants in this action are Dr. Ronald Bortman, a psychiatrist at Pelican
                                                                         15   Bay State Prison; Teresa Schwartz, who was Associate Warden for the general population at Pelican Bay
                                                                         16   during most of the time relevant to this case and, at time of trial, was Warden of the California Medical Facility
                                                                         17   at Vacaville; and Captain Daniel Smith, who was Facility Captain in charge of the Security Housing Unit (SHU)
                                                                         18   during much of the time relevant here and was, at the time of trial, Associate Warden in charge of business
                                                                         19   services at Pelican Bay.
                                                                         20           3.       During this time at Pelican Bay State Prison, plaintiff was regularly housed in the institution’s
                                                                         21   Security Housing Unit (SHU). He was a serious disciplinary problem: between January 6, 1998 and May 20,
                                                                         22   2001, he had over a hundred charged disciplinary incidents, including batteries on peace officers, willfully
                                                                         23   resisting, delaying, obstructing peace officers, threat of force or violence, Destruction/Damage/Misuse of State
                                                                         24   Property, and indecent exposures. Plaintiff’s assaults on correctional staff led to injury to, and early retirement
                                                                         25   of, several correctional officers.
                                                                         26           4.       Plaintiff had been actively litigious, having filed between six and eight federal lawsuits so far.
                                                                         27   In 1996 he filed three civil rights actions in federal court against various custody officers at Pelican Bay and
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                                                                          1   received a $60,000 settlement on one of them. He had filed dozens of internal inmate appeals (form 602s) and
                                                                          2   was, in his own estimation, a “very high profile inmate.”
                                                                          3           5.       Prior to 1995, plaintiff had been seen and evaluated by many mental health professionals, none
                                                                          4   of whom to that point had determined that he suffered from a mental illness that was properly treated with
                                                                          5   psychotropic medication. Between 1995 and April, 1999, plaintiff was seen or evaluated by numerous mental
                                                                          6   health professionals at Pelican Bay. There was no consensus on a diagnosis. Plaintiff testified that although he
                                                                          7   had not been suicidal since 1992, he occasionally pretended to be suicidal, for manipulative purposes and
                                                                          8   because it “made him laugh.” At one point he pretended to take an overdose of medications, and several times
                                                                          9   he hid razor blades and pretended to have swallowed them. He also testified that he sometimes has
                                                                         10   manipulated staff with false claims of chest pain.
                                                                         11
United States District Court




                                                                         12   B. Mental health facilities/regulations at Pelican Bay State Prison
                               For the Northern District of California




                                                                         13           6.       The Psychiatric Services Unit (PSU) at Pelican Bay was created as a result of the case of
                                                                         14   Madrid v. Gomez, No. C 90-3094 THE (N.D. Cal.), for the purpose of dealing with Pelican Bay inmates who
                                                                         15   normally would be housed in the Security Housing Unit (SHU) but who, because they have certain mental
                                                                         16   health conditions, are at a particularly high risk of serious injury to mental health by virtue of such housing. Such
                                                                         17   inmates must be removed from the SHU, and the PSU provides the alternative housing. The Madrid remedial
                                                                         18   order specifically identifies those at risk individuals as including either inmates with an Axis I diagnosis, or the
                                                                         19   following:
                                                                         20                   (1) inmates with a mental disorder that includes being actively suicidal;
                                                                                              (2) inmates diagnosed with a serious mental illness characterized by breaks with reality or
                                                                         21           perceptions of reality that lead the inmate to significant functional impairment;
                                                                                              (3) inmates diagnosed with an organic brain syndrome that results in significant functional
                                                                         22           impairment if not treated;
                                                                                              (4) inmates diagnosed with a severe personality disorder manifested by episodes of psychosis
                                                                         23           or depression, and results in significant functional impairment; or
                                                                                              (5) inmates with mental retardation with significant functional impairment.
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                                                                                      7.       The goal of the PSU is to provide evaluation and treatment of mental health conditions that are
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                                                                              limiting the ability of inmates with high security needs to adjust to appropriate institutional placements. Program
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                                                                              objectives of the PSU include: (1) providing comprehensive mental health assessment of inmates to determine
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                                                                              the need for treatment and appropriate clinical placement; (2) providing alternative housing for inmates whose
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                                                                          1   mental health needs limit their ability to adjust to the SHU; (3) providing clinical interventions to reduce the
                                                                          2   inmate’s level of dangerousness and allowing re-integration into less restrictive clinical and custodial
                                                                          3   environments; and (4) assisting inmates in acquiring skills to function more safely and successfully in an
                                                                          4   appropriate institutional placement.
                                                                          5           8.       Pelican Bay PSU policy provides that inmates housed in the SHU may be referred by any staff
                                                                          6   member for an assessment of mental health needs. The normal time for clinical assessment for those referred
                                                                          7   to the PSU is 14 days, but that this period may be extended with the approval of the applicable Interdisciplinary
                                                                          8   Treatment Team (IDTT).
                                                                          9           9.       Every inmate treated by the Mental Health Department -- including plaintiff -- has a Treatment
                                                                         10   Plan which is periodically discussed and reviewed by an Interdisciplinary Treatment Team (IDTT). The
                                                                         11   purpose of a Treatment Plan for mental health inmates is to facilitate the goals and objectives of the Psychiatric
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                                                                         12   Services Unit. In particularly difficult cases the Chief Psychiatrist may be involved in Treatment Plan
                               For the Northern District of California




                                                                         13   discussions. Custodial staff familiar with the inmate are also involved in the discussions, since they can provide
                                                                         14   information regarding the inmate’s behavior and conduct.
                                                                         15           10. State prisoners cannot be involuntarily medicated unless Keyhea provisions are followed so
                                                                         16   named based on an injunction issued in Keyhea v. Rushen, 178 Cal.App.3d 526 (1986). Pursuant to the
                                                                         17   Keyhea injunction, prison officials may not administer involuntary medication to state prison inmates in excess
                                                                         18   of three days unless certain conditions for certification of additional treatment are met. Pursuant to the Keyhea
                                                                         19   injunction, a certification hearing must be held within ten days of the initial involuntary medication.
                                                                         20           11.      The Keyhea injunction does not prohibit emergency administration of antipsychotic medication.
                                                                         21   An emergency exists when there is a sudden marked change in the prisoner’s condition so that action is
                                                                         22   immediately necessary for the preservation of life or the prevention of serious bodily harm to the patient or to
                                                                         23   others, and it is impracticable to first obtain consent. If the medication is administered during an emergency,
                                                                         24   such medication shall be only that which is required to treat the emergency condition and shall be provided in
                                                                         25   ways that are least restrictive of the personal liberty of the patient.
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                                                                         27   C. Plaintiff’s treatment plan
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                                                                          1           12.      Dr. Bortman began working at Pelican Bay in March 1999. In July, 1999, Dr. Bortman

                                                                          2   recommended to the plaintiff’s IDTT that plaintiff be referred to the PSU for a psychiatric evaluation. Plaintiff
                                                                          3   contends that this referral was the first step in the conspiracy to medicate him involuntarily. However, Dr.
                                                                          4   Bortman testified, credibly in the Court’s view, that this referral was based on his diagnosis that plaintiff has a
                                                                          5   mental illness, perhaps bi-polar disorder, and his medical opinion that plaintiff might benefit from a more
                                                                          6   thorough evaluation and possible treatment at the PSU. By the time of this referral, Dr. Bortman had reviewed
                                                                          7   much of plaintiff’s voluminous medical file, had spoken with Associate Warden Teresa Schwartz and other
                                                                          8   custodial officials about plaintiff and had conducted a brief interview with plaintiff. It was his “sense” that there
                                                                          9   was disagreement among the various medical and other personnel as to what the correct diagnosis should be,
                                                                         10   but he felt there clearly was a mental health disorder. Plaintiff was transferred to the PSU in July, 1999 and
                                                                         11   stayed through September. He was evaluated there, including an extensive psychological evaluation by Tod
United States District Court




                                                                         12   A. Roy, Ph.D., a clinical psychologist. Dr. Roy’s 9/1/99 report (Ex. #22) concluded that plaintiff is
                               For the Northern District of California




                                                                         13   behaviorally disordered, was demonstrating progressive development of a psychopathic personality, with a
                                                                         14   “personality organization which uses aggression to express [] identity and satisfy needs [] with a callousness that
                                                                         15   is completely self-serving.” Dr. Roy opined that “Hymes cannot respond to traditional treatment . . . because
                                                                         16   he will not respond and cannot in effect change his behavior.” He concluded that “it would be a disservice to
                                                                         17   the PSU to have this inmate remain in the unit due to his severe character pathology,” as he “is not treatment
                                                                         18   amenable.” Plaintiff was thereafter released back to the SHU.
                                                                         19            13.     Dr. Everett Allen was first hired by PBSP as a contract physician/surgeon in March of 1999
                                                                         20   (he characterized this as a “doc-in-the-box” position). In February, 2000 he was hired by PBSP as a staff
                                                                         21   physician/surgeon; on July 7, 2000, he was promoted to the position of Chief Physician and Surgeon. He had
                                                                         22   substantial contacts with other medical professionals as well as custody staff. Dr. Allen was the primary
                                                                         23   medicaldoctor at the SHU infirmary during much of the time relevant to this action, and dealt with plaintiff often.
                                                                         24   Plaintiff made many complaints to medical staff regarding chest pains, and Dr. Allen became involved in
                                                                         25   plaintiff’s treatment to try to provide an objective medical diagnosis of plaintiff’s coronary health, as well as to
                                                                         26   attempt to minimize some of the disruptive contact plaintiff had with custody and staff.
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                                                                          1   D. The Keyhea procedures: 4/27/00 and 4/10/01
                                                                          2           14. The central events of plaintiff’s conspiracy allegations are two instances of involuntary medication

                                                                          3   using Keyhea procedures. Both were initiated by Dr. Bortman.
                                                                          4            15. On July 27, 2000, plaintiff lay down and refused to cooperate with custody officers who were

                                                                          5   moving him from one cell to another. He told them “It’s on,” meaning he would fight the custody officers.
                                                                          6   When officers attempted to lift him off the ground he violently kicked, attempting to get free, and yelled threats.
                                                                          7   He testified that he was in control of himself the whole time, although it might have looked like he was out of
                                                                          8   control to observers. Much of this incident was captured on videotape, which was admitted in evidence (Ex.
                                                                          9   63) Three officers were assaulted, two of whom were taken to the hospital for treatment.
                                                                         10           16.      The Admission Summary and Notice of Certification relating to plaintiff’s first certification for
                                                                         11   involuntary medication (the first Keyhea) was prepared by Dr. Bortman on July 27, 2000 (Ex. 65, 215). This
United States District Court




                                                                         12   was based on plaintiff’s assaultive behavior and the injury to three officers. On that date, Dr. Bortman
                               For the Northern District of California




                                                                         13   medicated plaintiff with Haldol and other medications, on an emergency basis. Dr. Bortman testified credibly
                                                                         14   at trial that he wanted plaintiff to get appropriate psychiatric and medical treatment for his condition, which he
                                                                         15   then believed might be bipolar disorder with rapid cycling, and he felt Depakote would be appropriate
                                                                         16   treatment. He was aware that nurse Cyndi Scott disagreed with his decision to place plaintiff in restraints, but
                                                                         17   felt her behavior was inappropriate. On July 28, 2000, John Douglas, M.D., took over for Dr. Bortman, who
                                                                         18   was on vacation. At that point, plaintiff agreed to voluntarily take Depakote and the Keyhea process was
                                                                         19   terminated. Dr. Douglas believed plaintiff’s Axis I diagnosis should be “intermittent explosive disorder,” rather
                                                                         20   than bipolar disorder, but he did not have any reason to question Dr. Borton’s good faith belief in his bipolar
                                                                         21   diagnosis. Dr. Allen also saw plaintiff at this time, and worked with Dr. Douglas to persuade plaintiff to take
                                                                         22   the Depakote. Dr. Allen thought it possible that plaintiff had a seizure disorder.
                                                                         23           17.        On July 28, 2000, SHU clinician Delbert Costiloe, LCSW, signed a document which
                                                                         24   contained his Axis I diagnosis of plaintiff (R/O Mood Disorder NOS, versus Cognitive Disorder NOS). (Ex.
                                                                         25   223) Mr. Costiloe believed that plaintiff needed treatment based on his assaultive, disruptive behavior
                                                                         26           18.      Plaintiff took the Depakote for approximately six weeks (July 28, 2000 - September 12,
                                                                         27   2000), during which time his behavior improved significantly. He testified at trial that he agreed to take the
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                                                                          1   Depakote to show them that it would not control him, but he acknowledged that while he was taking it he was
                                                                          2   letting things slide that ordinarily he wouldn’t give the officers the benefit of. On September 12, 2000, plaintiff
                                                                          3   refused to continue taking the Depakote, because he did not want to “get a psych jacket.” Dr. Allen advised
                                                                          4   him to keep taking the medication.
                                                                          5           19.      In February, 2001, plaintiff began having incidents in the SHU again. He testified that he
                                                                          6   wanted to “irk” the staff, so he began kicking his cell, doing considerable damage. He placed razor blades in
                                                                          7   his mouth, and when officers tried to get them back he kicked them and thrashed violently while being subdued.
                                                                          8   Also in February 2001, plaintiff decided to plead NGI to a case pending against him in Del Norte County.
                                                                          9   Sometime before April, 2001 Dr. Bortman was subpoenaed to testify about plaintiff at the NGI hearing.
                                                                         10           20. On April 10, 2001, plaintiff destroyed a telephone after an attorney visit. Later that day, he
                                                                         11   assaulted Correctional Sergeant Anthony VanNocker while being transported to a holding cell. Thereafter,
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                                                                         12   plaintiff was taken to the infirmary and evaluated. The second Notice of Certification for involuntary medication
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                                                                         13   (second Keyhea) was signed by staff psychologist Robert Levine, Ph.D., on April 10, 2001, as the evaluating
                                                                         14   physician, and was signed by Dr. Bortman, as the chief psychiatrist or his designee (Ex. 220; see also 99, 100,
                                                                         15   and 221). On the Notice, Dr. Levine and/or Dr. Bortman checked the box that plaintiff Hymes was a danger
                                                                         16   to others. The Notice states: “Plaintiff repeatedly assaulted staff resulting in injury to staff . . . unable to control
                                                                         17   assaultive behavior. He is mentally ill and refusing voluntary medication.” Plaintiff was involuntarily medicated
                                                                         18   with Depakote, Haldol and other medications.
                                                                         19           21. Dr. Wendy Saville, Chief Psychiatrist at PBSP, performed an independent psychiatric evaluation
                                                                         20   of plaintiff on April 12, 2001, at the request of her supervisor (CMO Dr. Winslow). She determined that Dr.
                                                                         21   Bortman’s Keyhea in April of 2001 was warranted and proper, although she reached a different Axis I
                                                                         22   diagnosis of plaintiff. (Ex. 104, 222) On April 17, 2001, plaintiff was discharged to the PSU by Dr. Bortman,
                                                                         23   for evaluation by the Treatment Team. (Ex. 106) Dr. Roy evaluated him, and on May 8, 2001 issued a report
                                                                         24   finding that although plaintiff had an Axis II “antisocial personality disorder, severe, psychopathic variant,” he
                                                                         25   had no Axis I disorder meeting SHU exclusion criteria. (Ex. 111) Thereafter, plaintiff was returned to the SHU,
                                                                         26   where he continued his “oppositional conduct” toward custody.
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                                                                          1   E. Staff evaluations of plaintiff
                                                                          2                22.   All of the trained professionals who performed formal evaluations of plaintiff over the years

                                                                          3   agreed that he suffers from some psychiatric diagnosis, or mental illness. However, they differed in their
                                                                          4   identification of the diagnosis, ranging from bipolar disorder (Dr. Bortman), to Provisional-Mood Disorder
                                                                          5   NOS (Dr. Saville and D. Costiloe, LCSW), to personality disorder (all psychiatrists and psychologists), and
                                                                          6   to explosive disorder (Dr. Douglas). There was substantial disagreement among mental health specialists
                                                                          7   concerning the psychological/psychiatric Axis I diagnosis, but far less disagreement concerning the Axis II
                                                                          8   diagnosis of plaintiff Hymes. Except Dr. Roy, all agreed that Depakote was an appropriate medication for
                                                                          9   plaintiff.
                                                                         10                23.   All of the psychologists and psychiatrists who testified in this action (Dr. Bortman, Dr. Saville,
                                                                         11   Dr. Roy and Dr. Douglas) confirmed that such disagreements in diagnosis are common at Pelican Bay State
United States District Court




                                                                         12   Prison. Further, each of the mental health specialists who testified (Dr. Douglas, Dr. Saville and Dr. Roy)
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                                                                         13   stated that he or she had no reason to doubt that Dr. Bortman’s diagnosis of plaintiff was made in good faith.
                                                                         14   Dr. Bortman testified credibly that he believed, and believes, his diagnosis was correct.
                                                                         15                24.   None of the mentalhealth specialists who testified had any reason to believe that Dr. Bortman’s
                                                                         16   diagnosis of plaintiff, or his initiations of the Keyhea procedure in July of 2000 or April of 2001, were a part
                                                                         17   of any plan or scheme or conspiracy with custody to have plaintiff removed from the SHU.
                                                                         18                25.   Defendant Smith, a facility captain of the SHU, requested that a psych evaluation be performed
                                                                         19   on plaintiff based on Smith’s good-faith concerns arising from plaintiff’s behavior and prior claims of mental
                                                                         20   illness. Defendant Smith understood that there was a plan to have plaintiff referred to PSU for an evaluation
                                                                         21   based on plaintiff’s unpredictable, disruptive, explosive behavior. Defendant Smith understood this was a
                                                                         22   legitimate treatment plan put forward by the IDTT. Defendants Smith and Schwartz never conspired to have
                                                                         23   plaintiff undergo a Keyhea. Defendants Smith and Schwartz never conspired to recommend referral to PSU
                                                                         24   without reason. Dr. Allen’s contrary opinion was based on incomplete information.
                                                                         25                26.   Dr. Bortman’s decisions to initiate treatment of plaintiff with psychotropic medications on July
                                                                         26   27, 2000 and April 10, 2001 were based his genuine medical judgment that such treatment was appropriate
                                                                         27   under the circumstances.
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                                                                          1           27.      The Court found the defendants’ testimony in this case to be credible. The differing diagnoses

                                                                          2   of plaintiff’s condition reflected the complicated nature of the condition, not a conspiracy against him. The
                                                                          3   Court found no evidence of deliberately incorrect medical opinions concerning plaintiff’s condition.
                                                                          4

                                                                          5                                             CONCLUSIONS OF LAW
                                                                          6           1.       Plaintiff has not proved, by a preponderance of the evidence, that defendant Bortman,
                                                                          7   defendant Smith or defendant Schwartz deliberately violated any of the procedural requirements or substantive
                                                                          8   standards of the Keyhea provisions or the Madrid protocol, in connection with any recommendations for
                                                                          9   plaintiff’s referral to the PSU or on those two occasions where plaintiff was involuntarily medicated.
                                                                         10           2.       Under 42 U.S.C. § 1985, plaintiff was required to prove, by a preponderance of the evidence,
                                                                         11   that (1) there was a conspiracy whose purpose was to deprive the plaintiff of equal protection or equal
United States District Court




                                                                         12   privileges and immunities, or to obstruct the course of justice in the state; (2) that the defendants intended to
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                                                                         13   discriminate against the plaintiff; (3) that the defendants acted under color of state law and authority; and (4)
                                                                         14   that the acts done in furtherance of the conspiracy resulted in an injury to the plaintiff's person or property or
                                                                         15   prevented him from exercising a right or privilege of a United States citizen. Griffin v. Breckenridge, 403 U.S.
                                                                         16   88 (1971); Skolnick v. Campbell, 398 F.2d 23 (7th Cir. 1968); Hoffman v. Halden, 268 F.2d 280 (9th Cir.
                                                                         17   1959). Plaintiff has not done so, because plaintiff did not prove any agreement, or meeting of minds, between
                                                                         18   among the parties, to violate the plaintiff’s constitutional rights.
                                                                         19           3.       Plaintiff did not prove by a preponderance of the evidence that any treatment provided by Dr.
                                                                         20   Bortman to plaintiff violated plaintiff’s constitutional or statutory rights. Dr. Bortman did not act with deliberate
                                                                         21   indifference to plaintiff’s serious medical needs, Estelle v. Gamble, 429 U.S. 97, 106 (1976), nor did that
                                                                         22   treatment amount to cruel and unusual punishment in violation of 42 U.S.C. § 1983 or California Civil Code
                                                                         23   § 52.1. The difference of opinion between Dr. Bortman and plaintiff concerning the appropriate course of
                                                                         24   treatment for plaintiff does not amount to deliberate indifference, Jackson v. McIntosh, 90 F.3d 330, 332 (9th
                                                                         25   Cir.1996); nor does the difference of opinion between Dr. Bortman and other medicalprofessionals concerning
                                                                         26   the appropriate course of treatment for plaintiff. Sanchez v. Vild , 891 F.2d 240, 242 (9th Cir.1989).
                                                                         27           4.       P laintiff did not prove by a preponderance of the evidence that any action on the part of
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                                                                          1   defendants Smith or Schwartz violated plaintiff’s federal constitutional or California statutory rights.
                                                                          2           5.       Plaintiff has not proved, by a preponderance of the evidence, that defendant Bortman,

                                                                          3   defendant Smith or defendant Schwartz acted maliciously and sadistically for the very purpose of causing harm
                                                                          4   to plaintiff, or conspired to do so.
                                                                          5           6.       Plaintiff did not sustain any injury or damage or harm as a result of any improper act or omission
                                                                          6   on the part of any defendant.
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                                                                          8           IT IS SO ORDERED.
                                                                          9   Dated: September 26, 2005
                                                                                                                                                  _________________________
                                                                         10                                                                       SUSAN ILLSTON
                                                                                                                                                  United States District Judge
                                                                         11
United States District Court




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                               For the Northern District of California




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